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      3Jn tbe Wniteb ~tates QCourt of jfeberal QCiaitns
                                        No. 18-17C
                                   (Filed June 29, 2018)
                                 NOT FOR PUBLICATION

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MUHAMMAD JALAL-DEEN                      *
AKBAR,                                   *
                                                               FILED
                                         *                    JUN 29 2018
                    Plaintiff,           *
             v.                          *                   U.S. COURT OF
                                         *                  FEDERAL CLAIMS
THE UNITED STATES,                       *
                                         *
                    Defen dant.          *
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                    MEMORANDUM OPINION AND ORDER

WOLSKI, Judge.

       On December 29, 2017, Muhammad Jalal-Deen Akbar, filed a complaint in
this court in which h e appears to allege that an individual has been withholding
from him disability benefits paid by the Department of Veter ans Affairs. The
government filed a motion to dismiss the complaint on Febru ary 27, 2018,
contending that Mr. Akbar has failed to allege a claim within this court's subject-
matter jurisdiction. On May, 22, 2018, Mr. Akbar filed a r esponse to t h e
government's motion to dismiss and a motion for summary judgment. Sh ortly
thereafter, on June 5, 2018, the government filed a r eply in support of its motion.
Finally, on June 15, 2018, plaintiff filed a reply in support of his motion for
summary judgment. Oral argument is unnecessary. For the reasons stated below,
the government's motion is GRANTED.

                                   I . BACKGROUND

      As best as the Court can discern from his rather unconventional submissions,
Mr. Akbar is a prisoner in federal custody at a facility in Texas. Compl. Ex. 1, at 1.
The nature of his claim, or claims, is very difficult to discern. The complaint begins
by asserting that this court has jurisdiction over his claim because it concerns
breach of a contract, military pay, and the failure to pay Mr. Akbar his veterans'


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benefits. Compl. at 1. He claims an entitlement to these benefits by virtue of his
being entirely disabled due to service-connected post-traumatic stress disorder. Id.
Mister Akbar maintains that a fiduciary has misappropriated and embezzled some
of his benefits. Id. Attached to the complaint were a series of documents which
have little to no apparent relevance to a claim for veterans' benefits. For example,
Mr. Akbar included a copy of a request for a transfer to a different federal prison
and a motion to compel a public defender to surrender his case file. See Compl. Ex.
1, at 1-3. A copy of an application to proceed in forma pauperis filed in a district
court action, which lists veterans' benefits as his only source of income, sheds some
light on his claim. 1 See id. at 5. It identifies several months for which his fiduciary
had not deposited Mr. Akbar's disability benefits into his prison account. Id.
Plaintiff also included a copy of a psychiatric evaluation which discusses his post-
traumatic stress disorder. Id. at 12-17.

        Unsurprisingly, the government has moved to dismiss the complaint,
contending that plaintiff has failed to state a claim within our court's subject-matter
jurisdiction. Def.'s Mot. at 1-4. The government notes that merely referencing the
word "contract" or "military pay" does not itself provide this court with jurisdiction.
Id. Plaintiffs opposition to that motion, which included some pages identified as a
motion for summary judgment, does little to shed light on the nature of his claims.
This filing is a compilation of documents, including the first page of defendant's
motion to dismiss the complaint, excerpts from Mr. Akbar's military records, and
records of transactions from Mr. Akbar's inmate trust account. Pl.'s Resp. to Def.'s
Mot. & Cross-Mot. for Summ. J. at 1-17. In the part of this submission entitled a
summary judgment motion, Mr. Akbar appears to contend that one Arthur A.
Cappilla---who does not appear to be a federal employee---has misappropriated
funds in his capacity as the fiduciary charged with the management of Mr. Akbar's
finances. Id. at 24. It appears that Mr. Cappilla is charged with such guardianship
because Mr. Akbar's mental illness renders him incompetent in such matters. See
id. at 24-26. Plaintiff seems to question the size of the deposits into his prison


1 Plaintiff also filed an application to proceed in forma pauperis in this case, which
the government has not opposed. That application is GRANTED.
Notwithstanding the waiver, prisoners seeking to proceed in forma pauperis are
required to pay, over time, the filing fee in full. 28 U.S.C. § 1915(b). Thus, Mr.
Akbar shall be assessed, as a partial payment of the court's filing fee, an initial sum
of twenty percent of the greater of (1) the average monthly deposits into his account,
or (2) the average monthly balance in her account for the six-month period
immediately preceding the filing of his complaint. Id.§ 1915(b)(l). Thereafter, Mr.
Akbar shall be required to make monthly payments of twenty percent of the
preceding month's income credited to his account. Id. § 1915(b)(2). The agency
having custody of Mr. Akbar shall forward payments from his account to the Clerk
of the Court of Federal Claims each time the account balance exceeds $10 and until
such time as the filing fee is paid in full. Id.
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account as well as their frequency, and he has submitted prison account records
showing that a $200 deposit has not been received on a monthly basis. Id. at 5-17.

       In the reply in support of its motion, the defendant notes that Mr. Akbar's
response does nothing to indicate that he has a claim within our jurisdiction and
that, to the extent his response references any cognizable claim at all, those claims
sound in tort and are not made against the United States government. Def.'s Reply
at 1-4. The final submission, Mr. Akbar's reply in support of his motion for
summary judgment, adds little clarity to the nature of his claim. He asserts that he
was beaten by prison guards; disputes various aspects of his psychiatric evaluation
report, another copy of which he includes and upon which he wrote comments;
contends that he was not mentally competent to stand trial when he was convicted
in the 1980s; and again asserts his entitlement to veterans' benefits. Pl.'s Reply in
Support of Mot. for Summ. J. at 2, 4, 6, 13.


                                  II. DISCUSSION

A. Standard of Review

       Under Rule 12(b)(l) of the Rules of the United States Court of Federal
Claims, claims brought before this court must be dismissed when it is shown that
the court lacks jurisdiction over their subject matter. When considering a motion to
dismiss a case for lack of subject-matter jurisdiction, courts will normally accept as
true all factual allegations made by the pleader and draw all reasonable inferences
in the light most favorable to that party. See Scheuer v. Rhodes, 416 U.S. 232, 236
(1974); Pixton v. B&B Plastics, Inc., 291F.3d1324, 1326 (Fed. Cir. 2002); CBY
Design Builders v. United States, 105 Fed. Cl. 303, 325 (2012).

       While a prose plaintiff's filings are to be liberally construed, see Erickson v.
Pardus, 551 U.S. 89, 94 (2007), this lenient standard cannot save claims which are
outside the court's jurisdiction from being dismissed, see Henke v. United States, 60
F.3d 795, 799 (Fed. Cir. 1995). The party invoking a court's jurisdiction bears the
burden of establishing it, and must ultimately do so by a preponderance of the
evidence. See McNutt v. Gen. Motors Acceptance Corp. of Ind., 298 U.S. 178, 189
(1936); Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir.
1998); Rocovich v. United States, 933 F.2d 991, 993 (Fed. Cir. 1991).

B. Analysis

      The only claim for money Mr. Akbar appears to have against the United
States is one related to his veterans' benefits. The Court of Federal Claims,
however, has no jurisdiction to review any claim for veterans' benefits. See



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Sindram u. United States, 130 F. App'x 456, 458 (Fed. Cir. 2005) (citing 38 U.S.C. §§
7251- 98). S uch claims fall within the exclusive jurisdiction of the Court of Appeals
for Veterans' Claims. Id. The court also lacks jui·isdiction over claims sounding in
tort. 28 U.S.C. § 1491(a)(l); Schillinger u. United S tates, 155 U .S. 163, 169 (1894).
To the extent plaintiff's claims regarding the theft of his veterans' benefits, or his
abuse by prison guards, are decipherable , they clearly sound in tort and thus cannot
be h eard in t his court. The same is true for Mr. Akbar's disputes regarding the
conduct of his criminal t rial, or allegations of criminal conduct on t he part of
government officials, as such matters are reserved for the district courts a nd the
appropriate courts of appeal. Joshua u. United States, 17 F.3d 378, 380 (Fed. Cir.
1994); Stanwych u. United States, 127 Fed. Cl. 308, 313-14 (2016). Even if Mr.
Cappilla were an authorized agent of the United States government---a matter
which is not properly alleged and explained in the complaint and other papers---his
alleged actions are either tortious or criminal and thus not among the things our
court is empowered to hear. Accordingly, none of Mr. Akbar's claims are within our
subject-matter jurisdiction. 2

                                  III. CONCLUSION

      For the reasons stated above , th e government's motion to dismiss this case is
GRANTED and plaint iff's motion for summary judgment is DENIED. The Clerk
shall close t he case. No costs sh all be awarded.


IT IS SO ORDERED.



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2 As th e Court lacks jurisdiction over his claims, plaintiffs motion for summary
judgment is DENIED as moot.
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